Case 2:03-cV-02025-.]DB Document 13 Filed 07/25/05 Page 1 of 2 Page|D 27

F”.E`D BY wm D i.
UNITED STATES DISTRICT COURT , '(h

WESTERN DISTRICT 0F TENNESSEES JUL 25 PH 3, 3b

 

 

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DIRECTTV, Inc., a California Corporation, .IUDGMENT IN A CIVIL CASE
Plaintiff,
v.
.]AMES PARR, CASE NO: 2:03-2025-B
Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance With the Agreed Order Of
Compromise And Dismissal As To James Parr entered on July 21, 2005, this cause is hereby
dismissed with prejudice.

 

THOMAS M. GOULD

 

Clerk of Court

(By) Deputy Cler§rk

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Honorable .1. Breen
US DISTRICT COURT

